Case 1:15-cv-01255-GBL-TCB Document 53 Filed 08/09/16 Page 1 of 2 PageID# 929



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

ROBERT WILLIAMS,                                        )
                                                        )
       Plaintiff,                                       )
                                                        )
v.                                                      ) Case No.: 1:15-cv-01255-GBL-TCB
                                                        )
RICOH AMERICAS CORP.,                                   )
                                                        )
       Defendant.                                       )

                                STIPULATION OF DISMISSAL

       The parties, Plaintiff Robert Williams and Defendant Ricoh USA, Inc., incorrectly named

as Ricoh Americas Corporation, by and through their undersigned counsel, jointly and pursuant

to Rule 41(a)(1)(A)(ii), stipulate and agree that all claims pending in this action shall be

dismissed with prejudice, each party to pay its own fees and costs.

Respectfully submitted,

RICOH USA, INC.                                       ROBERT WILLIAMS

/s/                                                   /s/
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Case 1:15-cv-01255-GBL-TCB Document 53 Filed 08/09/16 Page 2 of 2 PageID# 930



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 9th day of August, 2016, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which sent an electronic

notification of such filing to all parties of record. I further certify that a true copy of the filing

was also served via electronic mail upon the following:


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                                                        /s/Nicholas Woodfield
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